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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


AMERICAN PRECISION INDUSTRIES, INC.,
                                                          DOCKET NO.: 14 CV 01050
                    Plaintiff,
                                                          (RJA)
       vs.

FEDERAL INSURANCE COMPANY, FIREMAN’S
FUND INSURANCE COMPANY and NORTH
RIVER INSURANCE COMPANY

                   Defendants.


                                               ORDER

       AND NOW, this ________ day of ________, 2018, upon consideration of Defendant

Federal Insurance Company’s Motion Pursuant to FRCP 45 to Compel Compliance with

Subpoena to Produce Documents, and any opposition thereto, it is hereby ORDERED that API

Heat Transfer Inc. (“Heat Transfer”) shall provide all documents responsive to the Subpoena

within ten (10) days of the date of this Order. Sanctions may be imposed against Heat Transfer

if all responsive documents are not produced within ten (10) days of the date of this Order, upon

further application to this Court.



                                                            BY THE COURT:


                                                            ________________________

                                                            Hon. H. Kenneth Schroeder, Jr.
